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                        IN THE UNITED STATES DISTRICT COURT
                            DISTRICT OF SOUTH CAROLINA
                                CHARLESTON DIVISION

  David Anthony Babb,                                  Case No. 2:23-03218-RMG

                  Plaintiff,
            v.
                                                       ORDER AND OPINION
  David Isom, Rudy Socha, John J.
  Tecklenburg, Mike Merrill, S.C. Attorney
  General Alan Wilson, Wounded Nature -
  Working Veterans 501(c)(3), Sarah Reed,
                  Defendants.


       Before the Court is Plaintiff’s motion for reconsideration of the Court’s July 25, 2024 Order

dismissing Plaintiff’s Second Amended Complaint without prejudice and without issuance of

service of process. (Dkt. No. 77). For the reasons set forth below, Plaintiff’s motion is denied.

       I.        Background

       By Order and Opinion dated July 25, 2024, the Court adopted the U.S. Magistrate Judge’s

Report & Recommendation (“R&R”) to dismiss without prejudice Plaintiff’s claims. Plaintiff

filed the present motion for reconsideration on August 21, 2024. (Dkt. No. 77).

       II.       Legal Standard

       Federal Rule of Civil Procedure 59 allows a party to move to alter or amend a judgment

within twenty-eight days. Fed. R. Civ. P. 59(e). The Court may grant a motion for reconsideration

only in limited circumstances: “(1) to accommodate an intervening change in controlling law; (2)

to account for new evidence not available at trial; or (3) to correct a clear error of law or prevent

manifest injustice.” Pac. Ins. Co. v. Am. Nat'l Fire Ins. Co., 148 F.3d 396, 403 (4th Cir. 1998). A

Rule 59 motion tests whether the Court's initial Order was “factually supported and legally

justified.” Hutchinson v. Staton, 994 F.2d 1076, 1081-82 (4th Cir. 1993). Therefore, the Court may

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decline to reconsider a prior holding that “applied the correct legal standards” and made “factual

findings [ ] supported by substantial evidence.” Harwley v. Comm'r of Soc. Sec. Admin., 714 Fed.

Appx. 311, 312 (Mem) (4th Cir. 2018).

       III.    Discussion

       Plaintiff’s motion for reconsideration does not cite an intervening change in controlling

law, new evidence, clear error or a threat of manifest injustice resulting from the Court’s order.

As a result, none of the justifications for reconsideration are present here. Instead, Plaintiff seeks

to relitigate his claims against Defendants David Isom, Rudy Socha and Wounded Nature –

Working Veterans that were already presented to this Court. (Dkt. No. 77 at 2 (citing Dkt. Nos. 65

at 16-26, 74 at 12, 16-18)). A Rule 59(e) motion is not a proper forum to “relitigate old matters,

or to raise arguments or present evidence that could have been raised prior to the entry of

judgment.” See 11 Charles Alan Wright & Arthur R. Miller, Federal Practice and Procedure

§ 2810.1 (3d ed.). Because the Court finds that its Order and Opinion was “factually supported

and legally justified,” Plaintiff cannot meet the standard for reconsideration under Rule 59(e).

Hutchinson, 994 F.2d at 1081-82.

       IV.     Conclusion

       In light of the foregoing, the Court DENIES Plaintiff’s motion for reconsideration.

       AND IT IS SO ORDERED.



                                                      _s/Richard M. Gergel_
                                                      Richard Mark Gergel
                                                      United States District Judge

August 30, 2024
Charleston, South Carolina


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